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                                                                                          08/02/2019


                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

  ELIZABETH SINES et al.,                      )
       Plaintiffs,                             )       Civil Action No. 3:17-cv-00072
                                               )
  v.                                           )       SECOND ORDER TO DEFENDANT
                                               )       ELLIOT KLINE
                                               )
  JASON KESSLER et al.,                        )       By:     Joel C. Hoppe
            Defendants.                        )               United States Magistrate Judge

         On July 3, 2019, the Court issued an Order directing Defendant Elliot Kline to comply

  with specific steps and deadlines, within twenty-one days, to satisfy his outstanding discovery

  obligations. ECF No. 516. Kline and Plaintiffs’ counsel are hereby ORDERED to appear before

  the Court for a telephonic status conference on Thursday, August 8, 2019, at a time to be

  scheduled by the Clerk to discuss Kline’s compliance with that Order. The Court also expects a

  report on Kline’s good-faith participation at his deposition on Wednesday, August 7, 2019. ECF

  Nos. 508, 516.

         It is so ORDERED.

         The Clerk shall send a copy of this Order to the parties.

                                                       ENTER: August 2, 2019



                                                       Joel C. Hoppe
                                                       U.S. Magistrate Judge
